         Case: 22-2079    Document: 15      Page: 1   Filed: 11/14/2022




                                  2022-2079

            ©ntteb States: Court of Appeals
                for tfje Jfeberal Cirruit


                                RIMCO INC.,
                                                  Plaintiff-Appellant,
                                      v.
                             UNITED STATES,
                                                  Defendant-Appellee.



          Appeal from the United States Court of International Trade,
               No. 21-cv-00537, Chief Judge Mark A. Barnett



       PRINCIPAL BRIEF OF PLAINTIFF-APPELLANT, RIMCO
                            INC.



John M. Peterson                           Richard F. O’Neill
Counsel of Record                          NEVILLE PETERSON LLP
Patrick B. Klein                           701 Fifth Avenue, Suite 4200-2159
NEVILLE PETERSON LLP                       Seattle, WA 98104
55 Broadway Suite 2602                     (206) 905-3648
New York, NY 10006                         roneill@npwny.com
jpeterson@npwny.com
(212) 635-2730

November 14, 2022
               Case: 22-2079        Document: 15    Page: 2   Filed: 11/14/2022



FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                     July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT
                                  CERTIFICATE OF INTEREST

            Case Number 2022-2079
   Short Case Caption Rimco Inc. v US
   Filing Party/Entity Rimco Inc.


 Instructions: Complete each section of the form. In answering items 2 and 3, be
 specific as to which represented entities the answers apply; lack of specificity may
 result in non-compliance. Please enter only one item per box; attach
 additional pages as needed and check the relevant box. Counsel must
 immediately file an amended Certificate of Interest if information changes. Fed.
 Cir. R. 47.4(b).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


  Date: 08/15/2022                                       /s/ John M. Peterson
                                            Signature:

                                            Name:        John M. Peterson
               Case: 22-2079          Document: 15      Page: 3      Filed: 11/14/2022



FORM 9. Certificate of Interest                                                          Form 9 (p. 2)
                                                                                            July 2020


       1. Represented                     2. Real Party in            3. Parent Corporations
           Entities.                          Interest.                  and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).        Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of       Provide the full names of
 all entities represented             all real parties in interest    all parent corporations
 by undersigned counsel in            for the entities. Do not        for the entities and all
 this case.                           list the real parties if        publicly held companies
                                      they are the same as the        that own 10% or more
                                      entities.                       stock in the entities.

                                      0 None/Not Applicable           0 None/Not Applicable

           Rimco Inc.




                                  □      Additional pages attached
               Case: 22-2079      Document: 15     Page: 4   Filed: 11/14/2022



FORM 9. Certificate of Interest                                                  Form 9 (p. 3)
                                                                                    July 2020


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already
 entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).
          None/Not Applicable                       Additional pages attached




 5. Related Cases. Provide the case titles and numbers of any case known to be
 pending in this court or any other court or agency that will directly affect or be
 directly affected by this court’s decision in the pending appeal. Do not include the
 originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
 R. 47.5(b).
          None/Not Applicable                       Additional pages attached




 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 0        None/Not Applicable                       Additional pages attached




                                        Save for Filing
                 Case: 22-2079             Document: 15             Page: 5        Filed: 11/14/2022




                                          TABLE OF CONTENTS
                                                                                                     Page
CERTIFICATE OF INTEREST..................................................................................... ii
TABLE OF CONTENTS................................................................................................iii
TABLE OF AUTHORITIES......................................................................................... iv
STATEMENT OF RELATED CASES....................................................................... vii
JURISDICTIONAL STATEMENT............................................................................... 2
STATEMENT OF THE ISSUES.................................................................................... 2
STATEMENT OF THE CASE....................................................................................... 2
ARGUMENT................................................................................................................... 10
I.       Standard of Review.............................................................................................. 10
II.      The Trade Court’s Proposed Administrative Pathway is Unworkable......... 10
III.     Commerce Lacks Competence or Expertise to Rule Upon the
         Constitutionality of its Actions, or to Provide Rimco Effective Relief........17
IV.      A Claim for a Refund of Monies Unconstitutionally Taken by CBP May
         be Raised by Protest Followed By Litigation Under 28 U.S.C. § 1581(a). ..23
CONCLUSION.............................................................................................................. 32




                                                             iii
                  Case: 22-2079                Document: 15              Page: 6          Filed: 11/14/2022




                                          TABLE OF AUTHORITIES

Cases
A.N. Deringer Inc. v. United States, 66 C.C.P.A. 50 (1979).................................... 24
Agro Dutch Ind. Inc. v. United States, 508 F.3d 1024 (Fed. Cir. 2007)...................25
Apex Frozen Foods Pvt. Ltd. v. United States, 862 F.3d 1322 (Fed. Cir,
  2017)............................................................................................................................. 25
Azar v. Ashcroft, 585 F.3d 559 (2d Cir. 2009)............................................................ 28
Barron v. Ashcroft, 358 F.3d 674 (9th Cir. 2004)........................................................19
Bell BCI Co. v. United States, 570 F.3d 1337 (Fed. Cir. 2009)................................ 10
Bivens v. Six Unknown Named Agents, 403 U.S. 388 (1971)................................... 28
Carrv. Saul, 141 S. Ct. 1352 (2021)............................................................................22
Conoco v. U.S. Foreign Trade Zones Board, 18 F.3d 1581 (Fed. Cir. 1994).... 9, 29
F.Lii de Cecco di Filippo Fara S. Martino S.p.A. v. United States, 216 F.3d
  1027 (Fed. Cir. 2000)........................................................................................... 11, 13
Flores v. Garland, 2022 U.S. App LEXIS 4469 (9th Cir. 2022).............................. 19
Gallant Ocean (Thail.) Co. v. United States, 602 F.3d 1319 (Fed. Cir. 2010) 11, 13
Gete v. INS, 121 F.3d 1285 (9th Cir. 1997).................................................................. 20
Goldman v. United States, 28 C.C.P.A. 162, 166 (1940)..........................................27
Guess? Inc. v. United States, 944 F.2d 855 (Fed. Cir. 1991)....................................10
Interior Airways, Inc. v. Wien Alaska Airlines, Inc., 188 F. Supp. 107 (D.
  Ak. 1960)...................................................................................................................... 18
Itochu Bldg. Prods, v. United States, 733 F.3d 1140 (Fed Cir. 2013)..................... 25
Johnson v. Robison, 415 U.S. 361 (1974).................................................................. 20
KYD, Inc. v. United States, 607 F.3d 760 (Fed. Cir. 2010)............................... 11,13
Luggage & Leather Goods Mfrs. Assn. v. United States, 588 F. Supp. 1413
  (Ct. Int’ITr. 1984)...................................................................................................9, 29
Lynteq Inc. v. United States, 976 F.2d 693 (Fed. Cir. 1992).................................... 10
Maroszan v. United States, 852 F.2d 1469 (7th Cir. 1988)................................ 19, 20
Matthews v. Eldridge, 424 U.S. 319 (1976)............................................................... 18
McCarthy v. Madigan, 503 U.S. 140, 147 (1992)............................................... 22, 25
McGrath v. Weinberger, 541 F.2d 249 (10th Cir. 1976)                                                                     17, 21, 22
McKart v. United States, 395 U.S. 185 (1969)........................................................... 21
Miller & Co. v. United States, 824 F.2d 961 (Fed. Cir. 1987)................................. 27
NTNBearing Corp. v. United States, 74 F.3d 1204 (Fed. Cir. 1995)............... 11, 13
Nufarm America’s Inc. v. United States, 29 C.I.T. 1317 (2005).............................. 27
Oestereich v. Selective Service Sys., 393 U.S. 233 (1968)....................................... 19
Orleans Int’I Inc. v. United States, 335 F.3d 1375 (Ct. Int’l Tr. 2003)................... 26

                                                                  IV
             Case: 22-2079        Document: 15        Page: 7     Filed: 11/14/2022




Pat Huval Rest. & Oyster Bar Inc. v. United States, 32 C.I.T. 232 (2008)                          26
Petruska v. Gannon Univ., 462 F.3d 294 (3rd Cir. 2006)                                            19
Swisher Int’l Inc. v. United States, 205 F.3d 1358 (Fed. Cir. 2000)                       passim
Thomson Consumer Elecs. v. United States, 247 F.3d 1210 (Fed. Cir. 2001)                          28
Totes-Isotoner Corp. v. United States, 580 F. Supp. 2d 1371 (Ct. Int’l Tr.
 2008)                                                         .................................. 26
United States v. Bajakajian, 524 U.S. 321 (1997)                                                  20
United States v. C.O. Mason Inc., 51 C.C.P.A. 107 (1964)                                          24
United States v. Cajo Trading Inc., 55 C.C.P.A. 61 (1968)                                         24
United States v. Fox River Butter Co., 20 C.C.P.A. 38 (1932)                                      27
United States v. U.S. Shoe Corp., 523 U.S. 360 (1998),                                     26, 30
Wilkie v. Robins, 551 U.S. 537 (2007)                                                             28
Wirtgen Am. Inc. v. United States, 437 F. Supp 3d 1302 (Ct. Int’l Tr. 2020)                       29
Yangzhou Bestpak Gifts & Crafts Co. v. United States, 716 F.3d 1370 (Fed.
 Cir. 2013)                                                                                 12, 13
Statutes
19 U.S.C. § 1514                                                          passim
19U.S.C. § 1515                                                                 5
19U.S.C. § 1592                                                               20
19U.S.C. § 1671                                                                 5
19U.S.C. § 1675                                                                 8
19U.S.C. § 1677e                                                       3,4,5, 16
19U.S.C. §1500                                                                22
19U.S.C. §1516A                                                                 6
19U.S.C. §1673                                                                  5
28U.S.C. § 1295                                                                 2
28U.S.C. § 1581                                                          passim
28U.S.C. §2107                                                                  2
28U.S.C. § 2637                                                          passim
28 U.S.C. §2640                                                              7,9
28 U.S.C. § 2645                                                                2
Customs Courts Act of 1980, Pub. L. 96-417, 94 Stat. 1727 (1980)              25
Trade Preferences Extension Act of 2015, Pub. L. 114-27, 129 Stat. 362
 (2015)                                                                        12
Other Authorities
Certain Steel Wheels 12 to 16.5 Inches in Diameter From the People’s
 Republic of China: Final Results and Partial Rescission of Countervailing
 Duty Administrative Review; 2019, 86 Fed. Reg. 62,788 (November 12,
 2021)                                                                                           15
                 Case: 22-2079              Document: 15             Page: 8        Filed: 11/14/2022




Certain Steel Wheels from the People’s Republic of China: Antidumping and
  Countervailing Duty Order, 84 Fed. Reg. 24,098 (May 24, 2019)............. 3, 4, 15
Certain Steel Wheels from the People’s Republic of China: Preliminary
 Affirmative Countervailing Duty Determination and Alignment ofFinal
  Determination with Final Antidumping Duty Determination, 83 Fed. Reg.
  44,573 (August 31, 2018)                                     ............................................................ 13
John M. Peterson, Customs Penalties Under Section 592 of the TariffAct;
  Current Practice and the Need for Further Reform, 18 Vanderbilt J. Trans.
  Law 679 (1986)................................................ .'......................................................... 21
William L. Dickey, Survivals from More Primitive Times; Customs
 Forfeitures in the Modern Commercial Setting under Sections 592 and 618
  of the TariffAct of 1930, 7 Law & Policy Int’l. Bus. 691 (1975).......................... 21




                                                              vi
            Case: 22-2079     Document: 15      Page: 9    Filed: 11/14/2022




                      STATEMENT OF RELATED CASES

      In accordance with Rule 47.5 of the Rules of Practice of the U.S. Court of

Appeals for the Federal Circuit, counsel for Plaintiff-Appellant Rimco Inc. makes

the following statement:

       1.    Counsel for Plaintiff-Appellant know of no other civil action brought

before the U.S. Court of International Trade that was previously before this or any

other appellate court under the same or similar title.

      2.     Counsel for Plaintiff-Appellant is not aware of any actions, currently

pending in the U.S. Court of International Trade, which will directly affect or be

affected by this Court’s decision in the instant appeal.




                                          vii
           Case: 22-2079      Document: 15    Page: 10   Filed: 11/14/2022




                                     2022-2079

               ©ntteb States: Court of Appeals
                   for tfje Jfeberal Cirruit


                                   RIMCO INC.,
                                                    Plaintiff-Appellant,
                                         v.
                                UNITED STATES,
                                                    Defendant-Appellee.




            Appeal from the United States Court of International Trade,
                     No. 21-cv-00537, Judge Mark A. Barnett



         PRINCIPAL BRIEF OF PLAINTIFF-APPELLANT, RIMCO
                              INC.
       Plaintiff-Appellant, Rimco Inc. (“Rimco”), in accordance with Rules 28(a)

and 32(a) of the Federal Rules of Appellate Procedure and the Rules of Practice of

the United States Court of Appeals for the Federal Circuit, hereby submits its prin­

cipal brief in this appeal.
           Case: 22-2079     Document: 15      Page: 11    Filed: 11/14/2022




                            JURISDICTIONAL STATEMENT

      Plaintiff-appellant Rimco appeals from the final decision and judgment of the

United States Court of International Trade (“CIT”) in Rimco Inc., v. United States,

Slip Op. 22-79, dated July 8, 2022, and related judgment. Appxl-Appx20.

      Rimco filed a timely notice of appeal on July 28, 2022 pursuant to 28 U.S.C.

§§2107 and 2645(c) and Rule 4(a)(4) of the Federal Rules of Appellate procedure.

The CIT dismissed this case for lack of subject matter jurisdiction, asserting that it

lacked jurisdiction over a Rimco’s denied protest pursuant to 28 U.S.C. § 1581(a)

and in the alternative lacked jurisdiction under 28 U.S.C. § 1581 (i).

      This Court has appellate jurisdiction pursuant to 28 U.S.C. § 1295(a)(5). The

appeal was docketed in this Court on August 1, 2022.

                         STATEMENT OF THE ISSUES

      1.     Whether the trial court correctly held that it lacked subject matter juris­

diction to review the denial of Rimco’s protest under 28 U.S.C. § 1581(a).

      2.     In the alternative if this Court should find no jurisdiction under 28

U.S.C. § 1581(a), whether the trial court correctly held that it lacked subject matter

jurisdiction under 28 U.S.C. § 1581(i).

                           STATEMENT OF THE CASE

      This issue in this appeal is whether the CIT erred in dismissing Rimco’s com­

plaint alleging constitutional injury against the Government. Plaintiff Rimco, Inc.,


                                           2
           Case: 22-2079    Document: 15     Page: 12   Filed: 11/14/2022




of Neche, North Dakota, is an importer and reseller of wheels for cars, trucks and

agricultural vehicles.

      At times relevant to this action, between January 21, 2019 and July 3, 2019

the U.S. Department of Commerce (the “Department” or “Commerce”), Interna­

tional Trade Administration (“HA”), had ordered suspension of liquidation of en­

tries subject to the antidumping duty (“ADD”) and countervailing duty (“CVD”)

orders on Certain Steel Wheels from the People’s Republic of China, and had di­

rected United States Customs and Border Protection (“CBP” or “Customs”), to col­

lect provisional estimated CVD; or had issued a CVD Order, and directed CBP to

collect definitive estimated CVD deposits. See Certain Steel Wheels from the Peo­

ple’s Republic of China: Antidumping and Countervailing Duty Order, 84 Fed. Reg.

24,098, 24,099 (May 24, 2019) (the “Order” or “Certain Steel Wheels ADD/CVD

Order”).

      Commerce calculated the Certain Steel Wheels CVD assessment rates on the

basis of adverse facts available (“AFA”), 19 U.S.C. § 1677e(b), after two mandatory

respondents in the CVD investigation— Xiamen Sunrise Wheel Group Ltd. (“Xia­

men Sunrise”) and Zhejiang Jingu Co. Ltd.—had declined to cooperate with the in­

vestigations and were each assigned CVD rates of 457.10% ad valorem. Commerce

also assigned an “all others” CVD rate of 457.10% ad valorem for all subject wheels

shipped by non-reviewed exporters.


                                         3
          Case: 22-2079     Document: 15     Page: 13   Filed: 11/14/2022




      Also at times relevant to this action, Commerce had suspended liquidation of

entries subject to the Certain Steel Wheels antidumping investigation, and had di­

rected CBP to collect provisional estimated ADD, or had issued an ADD Order, and

directed CBP to collect estimated ADD deposits. See Certain Steel Wheels

ADD/CVD Order at 24,098. Because Commerce found that no selected “mandatory

respondent” had participated to its satisfaction in the ADD investigation, it issued

an ADD margin of 231.70% ad valorem, which not only applied to the defaulting

respondents, but to exports made by “all other” producers and exporters as well.

      In assigning these AFA countervailing duty and antidumping rates, Com­

merce acted pursuant to Section 776 of the Tariff Act of 1930, as amended, 19 U.S.C.

§ 1677e(d)(3), which provides:

      (3) No obligation to make certain estimates or address certain
      claims

      If the administering authority uses an adverse inference under subsec­
      tion (b)(1)(A) in selecting among the facts otherwise available, the ad­
      ministering authority is not required, for purposes of subsection (c) or
      for any other purpose—

            (A) to estimate what the countervailable subsidy rate or dumping
            margin would have been if the interested party found to have
            failed to cooperate under subsection (b)(1) had cooperated; or

             (B) to demonstrate that the countervailable subsidy rate or dump­
             ing margin used by the administering authority reflects an al­
             leged commercial reality of the interested party.



                                         4
           Case: 22-2079     Document: 15     Page: 14   Filed: 11/14/2022




      In setting these rates, Commerce made no attempt to estimate the rate which

would have resulted had interested parties cooperated in the proceeding, nor which

would have reflected the commercial reality of any such interested party. 19 U.S.C.

§ 1677e(d)(3). The AFA rates were applied to goods exported by reviewed and non­

reviewed exporters alike. The rates were not based on any measure of actual subsi­

dization of the subject merchandise, as contemplated by the countervailing duty

law1, nor on any actual comparison of export prices and normal values, as contem­

plated by the antidumping statute2.

      Rimco made various consumption entries of goods subject to the Certain Steel

Wheels ADD and CVD Orders which were assessed by CBP in liquidation with

combined countervailing and antidumping duty rates as high as 688% ad valorem.

On March 16, 2021, Rimco timely protested these charges as “excessive fines” in

contravention of the Eighth Amendment to the United States Constitution. CBP de­

nied Rimco’s protest on March 30, 2021. Thereafter Rimco timely commenced this

action pursuant to 19 U.S.C. § 1515, invoking the Trade Court’s exclusive subject



       1 See 19 U.S.C. § 1671, which anticipates that the administering authority will
“determines that the government of a country or any public entity within the territory
of a country is providing, directly or indirectly, a countervailable subsidy with re­
spect to the manufacture, production, or export of a class or kind of merchandise
imported, or sold (or likely to be sold) for importation, into the United States”.
      2 See 19 U.S.C. §1673, anticipating imposition of a special duty in cases where
the administering authority determines that a class or kind of goods is being “sold in
the United States at less than its fair value”.
                                          5
           Case: 22-2079      Document: 15      Page: 15    Filed: 11/14/2022




matter jurisdiction in 28 U.S.C. § 1581(a) to review actions challenging CBP’s de­

nial of protests3.

       The Government moved to dismiss Rimco’s action for lack of subject matter

jurisdiction on January 28, 2022. Following briefing and argument, the CIT granted

the Government’s motion on July 8, 2022, and dismissed this action. Appxl.

       In its decision and order dismissing this case for lack of subject matter juris­

diction, the CIT said that CBP’s liquidation of the entries at issue was not a protest­

able decision, and that the court did not possess jurisdiction to hear this claim pur­

suant to 28 U.S.C. § 1581(a). In addition, the Court found that it lacked 28 U.S.C.

§ 1581 (i) jurisdiction to hear Rimco’s claims.

       Rather, the CIT held that Rimco was required to raise its constitutional claims

before Commerce in administrative antidumping or countervailing duty investiga­

tions or annual review proceedings. If dissatisfied with the results of those proceed­

ings, the Trade Court held, Rimco was required to commence an action under Sec­

tion 516A of the Tariff Act of 1930, as amended 19 U.S.C. §1516A, which the Court




       3 Rimco’s Complaint also alleged, in the alternative, that the CIT could enter­
tain jurisdiction over its case pursuant to that court’s 28 U.S.C.§ 1581 (i) jurisdiction,

                                            6
           Case: 22-2079     Document: 15     Page: 16    Filed: 11/14/2022




would entertain under its 28 U.S.C. § 1581(c) jurisdiction, reviewing Rimco’s con­

stitutional claim on the basis of the record before Commerce, and applying the def­

erential standard of judicial review set out at 28 U.S.C. § 2640(b)4.

      Having failed to exhaust its administrative remedies by raising the issue with

Commerce and proceeding to court under 28 U.S.C. § 1581(c), the lower court held,

Rinaco could not invoke the CIT’s protest jurisdiction by challenging the actual as­

sessment of monies by CBP.

                       SUMMARY OF THE ARGUMENT

      Plaintiff, Rimco, Inc., based in Neche, North Dakota, imported truck wheels

into the United States under cover of various consumption entries filed with CBP.

Upon liquidation, CBP, acting on instructions from Commerce, assessed the entries

with duty at a combined rate of as much as 688.80% ad valorem, representing

457.10% in countervailing duties and 231.70% in antidumping duties, assessed pur­

suant to CVD and ADD orders, respectively, which had been entered against Certain

Steel Wheels from the People’s Republic of China.




      4 28 U.S.C. § 2640(b) provides that “In any civil action commenced in the
Court of International Trade under Section 516A, the court shall review the matter
as specified in subsection (b) of said section.” Subsection (b), in turn, provides that
the reviewing court shall uphold agency action which is found to be supported by
substantial evidence on the record.

                                          7
           Case: 22-2079     Document: 15      Page: 17    Filed: 11/14/2022




       Rimco paid all liquidated duties, taxes and fees, as required by 28 U.S.C.

§ 2637(a), and timely protested the exactions in accordance with 19 U.S.C.

§ 1514(a)(3), asserting by protest that the exactions represented unconstitutional

“excessive fines” which violated the Eighth Amendment to the United States Con­

stitution. This action was taken in reliance on this Court’s precedent holding that

unconstitutional assessments made by CBP may be challenged by protest. See, e.g.,

Swisher Int’I Inc. v. United States, 205 F.3d 1358,1361 (Fed. Cir. 2000) (“Swisher").

When CBP denied the protest, plaintiff timely commenced this action to challenge

the denial, invoking the CIT’s 28 U.S.C. § 1581(a) exclusive jurisdiction over pro­

test denial actions.

       The Trade Court, however, disregarding this precedent, dismissed Rimco’s

action for want of subject matter jurisdiction, finding that plaintiff had failed to ex­

haust administrative remedies. Specifically, the CIT found, plaintiff should first have

raised its claim of unconstitutionality by participating in the CVD and AD investi­

gations, or in 19 U.S.C. § 1675 “annual reviews” of the CVD and ADD orders con­

ducted by Commerce, and raising its claims of unconstitutionality before that

agency. Assuming that Commerce made a determination of constitutionality,5 the




       5 The Trade Court did not address the possibility that Commerce might decline
to offer an opinion on constitutionality, since agencies generally lack institutional
competence to decide constitutional matters. Indeed, parties who raise constitutional
claims before Federal agencies frequently receive no determinations on these claims,
                                           8
           Case: 22-2079    Document: 15     Page: 18   Filed: 11/14/2022




Trade Court said, it could judicially review and correct such Commerce determina­

tion in a pre-assessment action commenced under 28 U.S.C. § 1581(c). Such actions

are reviewed on the basis of the record developed before the agency, and using a

deferential “substantial evidence” standard of review. 28 U.S.C. § 2640(b).

       As discussed herein, Commerce has no institutional competence or expertise

to decide the constitutionality of its determinations. Any constitutional determina­

tion it might render could be overturned on that basis alone. Whether an exaction

made by CBP violates the Eighth Amendment’s “Excessive Fines” prohibition is a

legal determination to be made by a court. Indeed, since pursuing the administrative

remedy identified by the Trade Court would be both futile and inappropriate, that

court could have exercised its statutory discretion under 28 U.S.C. § 2637(d) to

waive the exhaustion of any administrative remedies. See, e.g., Conoco v. U.S. For­

eign Trade Zones Board, 18 F.3d 1581, 1587-88 (Fed. Cir. 1994); Luggage &

Leather Goods Mfrs. Assn. v. United States, 588 F. Supp. 1413, 1421 (Ct. Inf 1 Tr.

1984). This would have extended to waiving the 19 U.S.C. § 1514(a) protest rem­

edy.

       However, where, as here, the Tariff Act provides a protest procedure by which

plaintiff may raise a claim of unconstitutional exaction, a litigant may present its



since the agency decides that constitutional claims are beyond its competence. Wein­
berger v. Salfi, 422 U.S. 749, 794 (1975).
                                         9
           Case: 22-2079     Document: 15     Page: 19   Filed: 11/14/2022




claim using that procedure—rather than invoking the Trade Court’s 28 U.S.C.

§ 1581(i) “residual” jurisdiction (requiring that the court fashion a new remedy).

While the 19 U.S.C. § 1514(a) protest procedure might itselfbe described as “futile,”

since CBP also lacks institutional competence to make constitutional determina­

tions, it is nonetheless a recognized pathway for seeking judicial review of an un­

constitutional exaction as this Court recognized in Swisher, supra. The Trade Court

erred in dismissing this action.

                                      ARGUMENT

I.    Standard of Review

      This Court reviews legal holdings de novo and examines factual findings for

clear error. Bell BCI Co. v. United States, 570 F.3d 1337, 1340 (Fed. Cir. 2009). The

Court also reviews the lower court’s interpretation of statutory provisions de novo.

Lynteq Inc. v. United States, 976 F.2d 693, 696 (Fed. Cir. 1992); Guess? Inc. v.

United States, 944 F.2d 855, 857 (Fed. Cir. 1991).

II.   The Trade Court’s Proposed Administrative Pathway is Unworkable.

      As an initial matter, we note that the administrative pathway outlined by the

Trade Court is not a workable way for an importer such as Rimco to raise a claim of

unconstitutionality.

      Rimco’s claims that the CVD and ADD rates assessed against it are unconsti­

tutional “excessive fines” results from Commerce’s decision to base the rates on


                                         10
           Case: 22-2079       Document: 15     Page: 20   Filed: 11/14/2022




AFA. The AD statute allows Commerce to base rates on AFA when a respondent in

a proceeding declines to cooperate in whole or in part, or fails to cooperate with the

agency to the best of its ability.

      Historically, antidumping and countervailing duties, including the application

of AFA rates, were remedial in nature, rather than punitive. NTN Bearing Corp. v.

United States, 74 F.3d 1204, 1208 (Fed. Cir. 1995). “(A]n antidumping rate based

on AFA is designed “to provide respondents with an incentive to cooperate, not to

impose punitive ... margins,” F.Lii de Cecco di Filippo Fara S. Martino S.p.A. v.

United States, 216 F.3d 1027, 1032 (Fed. Cir. 2000). “[A]n AFA dumping margin

determined /'/z accordance with the statutory requirements is not a punitive measure,

and the limitations applicable to punitive damages assessments therefore have no

pertinence to duties imposed based on lawfully derived margins.” KYD, Inc. v.

United States, 607 F.3d 760, 768 (Fed. Cir. 2010) (emphasis added).

       Even under prior law, however, this Court have found that particular applica­

tions of AFA inferences can indeed cross the line from being remedial and become

punitive. In Gallant Ocean (Thail.) Co. v. United States, 602 F.3d 1319, 1323 (Fed.

Cir. 2010), this Court said “an AFA rate must be ‘a reasonably accurate estimate of

the respondent’s actual rate, albeit with some built-in increase intended as a deterrent

to non-compliance.’” Id. This Court found that Commerce’s AFA rate of 57.64%

ad valorem (less than 10% of the combined rates at issue here) was punitive in view


                                           11
           Case: 22-2079      Document: 15      Page: 21   Filed: 11/14/2022




of the co-operative respondents’ dumping rates and because a “rate over five times

the highest rate imposed on similar products is far beyond an amount sufficient to

deter Gallant and other uncooperative respondents from future non-compliance.” Id.

at 1324. Similarly, in Yangzhou Bestpak Gifts & Crafts Co. v. United States, 716

F.3d 1370, 1373 (Fed. Cir. 2013), this Court held that deriving an “all others” rate—

the type of rate applied to Rimco in this case—from an AFA rate might be a permis­

sible methodology, but not if the AFA rates (and resulting “all others” rate) were not

drawn to reflect economic reality.

      Historically, then, an excessive AFA rate could be struck down on statutory

grounds, and Commerce could be directed to redraw rates in conformity with statu­

tory requirements.

      However, Section 502 of the Trade Preferences Extension Act of 2015, Pub.

L. 114-27, 129 Stat. 362 (2015) (“TPEA”), amended the Tariff Act of 1930 in a way

which freed Commerce from considering commercial reality when setting AFA

rates. Section 502(d)(3), provides:

      (3) NO OBLIGATION TO MAKE CERTAIN ESTIMATES OR
      ADDRESS CERTAIN CLAIMS. —If the administering authority uses
      an adverse inference under subsection (b)(1)(A) in selecting among the
      facts otherwise available, the administering authority is not required,
      for purposes of subsection (c) or for any other purpose—

             (A)     to estimate what the countervailable subsidy rate or dump­
                     ing margin would have been if the interested party found
                     to have failed to cooperate under subsection (b)(1) had co­
                     operated; or
                                           12
           Case: 22-2079     Document: 15      Page: 22   Filed: 11/14/2022




             (B)    to demonstrate that the countervailable subsidy rate or
                    dumping margin used by the administering authority re­
                    flects an alleged commercial reality of the interested party.

This truly remarkable statute empowers a Federal agency, Commerce, to depart from

“commercial reality” in making an economic/taxing decision. A punitive margin im­

posed as a result of the application of AFA no longer violates the statute6. If a party

on whom such taxes are imposed wishes to challenge the imposition as punitive, its

only resort is to the “excessive fines” provision of the Eighth Amendment.

      That the method for raising a constitutional challenge suggested by the Trade

Court is unworkable is illustrated by the countervailing duty investigation which

resulted in the 457.10% ad valorem rate assessed against Rimco. In its preliminary

subsidy determination in the investigation,7 Commerce found, on the basis of infor­

mation supplied by one mandatory respondent, Xiamin Sunrise, received some coun­

tervailable benefits under certain programs and not under others, and calculated a

preliminary countervailing duty margin of 58.75% ad valorem for this firm. It found

that the other mandatory respondent, Zhejiang Jinyu, did not cooperate, and assigned



       6 In this respect, Section 502 of the Trade Preferences Extension Act has ef­
fectively overruled this Court’s decisions in cases such as NTN Bearing, Gallant
Ocean, F. Lii de Cecco, Yangzhou Bestpak and KYD, supra.
        7Certain Steel Wheels from the People’s Republic of China: Preliminary Af­
firmative Countervailing Duty Determination and Alignment ofFinal Determination
 with Final Antidumping Duty Determination, 83 Fed. Reg. 44,573 (August 31,
 2018).
                                          13
           Case: 22-2079     Document: 15      Page: 23   Filed: 11/14/2022




it an AFA rate of 172.51% ad valorem—one presumably already calculated to deter

firms from declining to provide Commerce with requested information. It estab­

lished an “all others” rate of 58.75% ad valorem, which covered shipments from

Rimco’s suppliers.8 9

      In its final determination, however, Commerce disregarded the information

provided by Xiamin Sunrise (which had withdrawn from the investigation). Com­

merce also reconsidered its view of what AFA rate would be sufficient to deter re­

spondents from failing to declare information, increasing it from 172.51% ad val­

orem to 457.10% ad valorem?

      The issuance of the Final Determination was the first indication that Com­

merce intended to base the “All Others” rate on AFA, rather than a lawful calculated

rate.10 By the time this first indication was made, the time for interested parties to

appear in the investigation or provide factual information or argument had long since




      8 The “all others” rate in the preliminary determination was based on the cal­
culated rate for Xiamin Sunrise, since “all others” rates could not be based on zero
or AFA rates. Yangzhou Bestpak Gifts & Crafts Co. v. United States, 716 F.3d 1370,
1373 (Fed. Cir. 2013).
      9 Certain Steel Wheels From the People’s Republic of China: Final Affirma­
tive Countervailing Duty Determination, 84 Fed. Reg. 11,744 (March 28, 2019).
Why the “Adverse Facts Available” rate applied to Zhejiang Jinju should increase
from 172.51% ad valorem to 457.10% ad valorem when no new facts were adduced
from that company, is something of a mystery.
      10 Rimco notes that a correctly calculated CVD or ADD rate would not be
susceptible to constitutional challenge under the Eighth Amendment.
                                          14
            Case: 22-2079    Document: 15      Page: 24   Filed: 11/14/2022




passed. Certain Steel WheelsADD/CVD Order. Having not been an “interested

party” who was a “party to the proceeding,” Rimco would have lacked standing to

commence or participate in any 28 U.S.C. § 1581(c) lawsuit challenging the deter­

mination.

      In many instances, the AFA rate applied to an importer will have been set long

ago, in an earlier segment of ADD or CVD proceedings before Commerce, and there

will be nothing an importer such as Rimco can do to challenge it before that agency.11

      To be clear: as an importer, Rimco has no factual information regarding for­

eign pricing or subsidies on which Commerce could base a new or different ADD or

CVD margin. Its claim is purely constitutional, i.e., that the rate previously set by

Commerce and applied to Rimco by CBP is so excessive as to offend the Eighth

Amendment’s “excessive fines” provision. There is no reason why this purely legal

argument should be required to be presented to Commerce which, as noted below,




        11 This was demonstrated by Rimco’s attempted participation in an annual re­
view proceeding regarding the countervailing duty order issued against Steel Trailer
Wheels from China. Rimco requested a review, for the purpose of asking Commerce
to set an “all others” rate not based on AFA, but as no exporter elected to participate
in the review, Commerce disregarded Rimco’s request, and finalized its determina­
tion with CVD margins of 388.31% ad valorem determined with respect to two pre­
viously-reviewed respondents. See Certain Steel Wheels 12 to 16.5 Inches in Diam­
eter From the People’s Republic of China: Final Results and Partial Rescission of
Countervailing Duty Administrative Review; 2019, 86 Fed. Reg. 62,788 (November
12,2021).
                                          15
            Case: 22-2079     Document: 15      Page: 25   Filed: 11/14/2022




lacks institutional competence to judge the constitutionality of its own determina­

tions.12 While the agency may adjudge the propriety of its action against the gov­

erning statute13, 14
                   the propriety of its action as a constitutional matter is beyond its

ken. Indeed, for this reason, Commerce might appropriately decline to address any

constitutional claim Rimco might raise in an investigation or review proceeding,

leaving a reviewing court convened under 28 U.S.C. § 1581 (c) no decision to review.

       Thus, the Trade Court’s notion that Rimco could have vindicated its interests

by presenting its Constitutional claims to Commerce in the course of that agency’s

proceeding is naive and unrealistic. As demonstrated below, this course of action

was not required for Rimco to raise its Constitutional claim, and the Trade Court

erred in so holding, and in disregarding this Court’s holding in Swisher and other

cases. 14




       12 Nor is Rimco required to participate in administrative proceedings to try to
beg the agency not to issue an unconstitutional rate, particularly when the rate was
set in earlier proceedings.
        13 In this case, the governing statute, 19 U.S.C. § 1677e(d)(3), which (remark­
ably) frees Commerce from even considering “commercial reality” in setting an
AFA rate, is completely unbounded by regulatory guardrails, leading one to question
if the statute even could be violated by even the wildest rate calculation.
       14 To be further clear, this is not an instance where Rimco asserts that the Trade
Court abused its 28 U.S.C. § 2637(d) discretion to waive exhaustion of administra­
tive remedies. What Rimco contents is that presenting a constitutional claim to Com­
merce, and then for judicial review on the basis of a record and deferential standard
of review in a 28 U.S.C. § 1581(c) lawsuit is not a viable remedy, and the lower
court erred as a matter of law in ruling otherwise. Rimco has not asked the Court to
                                           16
           Case: 22-2079       Document: 15      Page: 26    Filed: 11/14/2022




III.   Commerce Lacks Competence or Expertise to Rule Upon the Constitu­
       tionality of its Actions, or to Provide Rimco Effective Relief

       Requiring Rimco (and similarly-situated parties) to present their claims of un­

constitutional action to the agency which took the action is improper, since agen­

cies—in this case Commerce—lack the competence and expertise to opine on con­

stitutional issues, or, in this case, to offer meaningful relief.

       As noted in McGrath v. Weinberger, 541 F.2d 249, 251-52 (10th Cir. 1976):

       It is axiomatic that a litigant must exhaust his administrative remedies,
       if such remedies exist, as a prerequisite to invoking the jurisdiction of
       the federal court. Martinez v. Richardson, 472 F.2d 1121 (10th Cir.
        1973); see also Myers v. Bethlehem Shipbuilding Corp., 303 U.S. 41,
       82 L. Ed. 638, 58 S. Ct. 459 (1938). The clear language of the rule
       requiring exhaustion of administrative remedies before seeking judicial
       review does not, however, render the rule simple in application. It has
       been said, and we believe pertinently so, that “A fundamental distinc­
       tion must be recognized between constitutional applicability of legisla­
       tion to particular facts and constitutionality of the legislation ... We
       commit to administrative agencies the power to determine constitu­
       tional applicability, but we do not commit to administrative agencies
       the power to determine constitutionality of legislation.” Administrative
       Law Treatise, Davis, Vol. 3, § 20.04; see also Public Utilities Commis­
       sion of California v. United States, 355 U.S. 534, 2 L. Ed. 2d 470, 78
       S. Ct. 446 (1958).

       The doctrine of “administrative applicability” is invoked when there is a pos­

sibility that the agency might be able to dispose of an issue on other than constitu­

tional grounds:



waive exhaustion of the protest remedy, so 28 U.S.C. § 2637(d) is not implicated in
this appeal.

                                            17
           Case: 22-2079     Document: 15       Page: 27   Filed: 11/14/2022




      “If an administrative proceeding might leave no remnant of the consti­
      tutional question, the administrative remedy plainly should be pursued.
      But where the only question is whether it is constitutional to fasten the
      administrative procedure onto the litigant, the administrative agency
      may be defied and judicial relief sought.’ Public Utilities Commission
      of State of California v. United States, 355 U.S. 534, 78 S.Ct. 446, 2
      L.Ed.2d470; 3 Davis, Administrative Law Treatise, p. 74.

Interior Airways, Inc. v. Wien Alaska Airlines, Inc., 188 F. Supp. 107, 110 (D. Ak.

1960). However, even if Rimco could have joined in the Commerce proceeding

which set the CVD and AD rates, it would have been impossible for the agency to

render a determination of constitutionality when wielding statutory power which ex­

pressly relieves it of the obligation to consider the “commercial reality” of the inter­

ested party. Commerce could simply affirm any AFA determination as valid under

its governing statute. Under such circumstances, exhaustion of administrative reme­

dies is not required.

      While exhaustion may be required if the statute expressly requires the litigant

to obtain a final administrative determination before proceeding to court, exhaustion

of administrative remedies is not required for constitutional claims. Matthews v. El­

dridge, 424 U.S. 319, 330-31 (1976). In any event, since the decision challenged in

this case is the exaction of monies from plaintiff, and that exaction was performed

by CBP, Rimco has exhausted administrative protest remedies specified in 19 U.S.C.

§ 1514.




                                           18
           Case: 22-2079     Document: 15      Page: 28   Filed: 11/14/2022




      Moreover, Commerce has no institutional competence or expertise to deter­

mine constitutional questions, including those arising under the Eighth Amendment.

Constitutional challenges not within the competence of administrative agencies to

decide are exempt from administrative remedy exhaustion requirements. Barron v.

Ashcroft, 358 F.3d 674, 678 (9th Cir. 2004); Flores v. Garland, 2022 U.S. App

LEXIS 4469, at *4-5 (9th Cir. 2022).

      Where, as here, an agency has no special expertise to resolve Eighth Amend­

ment claims, litigants should not be required to raise their claims before the agency.

Petrusha v. Gannon Univ., 462 F.3d 294, 309 (3rd Cir. 2006) (agencies have no ex­

pertise to address First Amendment claims). In this regard, “the principle of exhaus­

tion may exclude certain constitutional challenges that are not within the competence

of the administrative agency to decide,” such as due process claims, “but only if they

involve more than ‘mere procedural error’ that the administrative tribunal could rem­

edy.” Barron v. Ashcroft, 358 F.3d 674, 678 (9th Cir. 2004).

      While courts are understandably reluctant to investigate fact bound, discre­

tionary determinations of an agency’s decision-making process, they must be

equally reluctant to license “free-wheeling agencies [to mete] out their own brand of

justice.” Maroszan v. United States, 852 F.2d 1469, 1477 (7th Cir. 1988) (citing Oes-

tereich v. Selective Service Sys., 393 U.S. 233, 237 (1968)). Thus, as explained in

Maroszan, supra, “whatever the statute precludes ... it does not preclude judicial


                                          19
           Case: 22-2079     Document: 15      Page: 29    Filed: 11/14/2022




review of the constitutionality of the legislation,” 852 F.2d at 1474, or of alleged

“unconstitutional administrative actions taken pursuant to that legislation.” Id.

at 1476; see also, Johnson v. Robison, 415 U.S. 361, 367-68 (1974); Gete v. INS,

121 F.3d 1285, 1291-92 (9th Cir. 1997).

       Whether an agency determination constitutes an excessive fine in violation

of the Eighth Amendment is subject to de novo review by the courts. The Supreme

Court has noted that “the touchstone of the constitutional inquiry under the Exces­

sive Fines Clause of the Eighth Amendment is the principle of proportionality: the

amount of the forfeiture must bear some relationship to the gravity of the offense

that it is designed to punish.” United States v. Bajakajian, 524 U.S. 321, 334 (1997).

Courts must perform “the proportionality determination de novo, must compare the

amount of the forfeiture to the gravity of the defendant’s offense. If the amount of

the forfeiture is grossly disproportional to the gravity of the defendant’s offense, it

is unconstitutional.” Id. at 336-37. In this case, multi-confiscatory AFA duty rates

equal to as much as 688% ad valorem of the value of the goods imported serve no

relationship to the “offense that it is designed to punish,” and are excessive in viola­

tion of the Eighth amendment—particularly when applied to an innocent importer

such as Rimco.15



      15 By way of comparison, the maximum penalty which may imposed under
Section 592 of the Tariff Act of 1930, 19 U.S.C. § 1592, for the importation of goods
by means of fraudulent false statements or acts is 100% of the value of the imported
                                          20
           Case: 22-2079     Document: 15      Page: 30   Filed: 11/14/2022




      Given the need for a de novo judicial determination of proportionality, the

Trade Court’s holding that Rimco should have contested the duty rates in a Com­

merce proceeding which is judicially reviewed under 28 U.S.C. § 1581(c) on the

basis of an administrative record, and using a deferential standard ofjudicial review,

makes no sense. This type of exhaustion is not required where “[t]he agency’s ex­

pertise would not aid the court in ruling on the matter of constitutional law involving

the due process claim; a detailed record regarding the factual background from

which this controversy arose would not aid the courts in ruling on the constitution­

ality of these procedures inasmuch as the issue is one of law.” McGrath v. Wein­

berger, 541 F.2d 249, 252-53 (10th Cir 1976) (citing McKart v. United States, 395

U.S. 185 (1969)).16




goods. Section 592 penalties have long been considered among the harshest in
American law, and certainly the harshest under the Customs laws. See John M. Pe­
terson, Customs Penalties Under Section 592 of the TariffAct; Current Practice and
the Need for Further Reform, 18 Vanderbilt J. Trans. Law 679 (1986); William L.
Dickey, Survivals from More Primitive Times; Customs Forfeitures in the Modern
Commercial Setting under Sections 592 and 618 of the TariffAct of 1930, 7 Law &
Policy Inf 1. Bus. 691 (1975).
       16 Administrative exhaustion of the type specified by the Trade Court is also
useless where, as here, Rimco’s imports were made after the conclusion of Com­
merce proceeding in which the challenged rates were set, and the company had no
opportunity to appear in or participate in such proceeding.
                                          21
           Case: 22-2079       Document: 15      Page: 31    Filed: 11/14/2022




       Indeed, the Supreme Court recently reminded us that it “has often observed

that agency adjudications are generally ill suited to address constitutional chal­

lenges.” Carr v. Saul, 141 S. Ct. 1352, 1360 (2021). Furthermore, the Trade Court,

in an action heard under its 28 U.S.C. § 1581(c) jurisdiction, would have no power

to provide plaintiff with effective relief on its constitutional claim. Plaintiff’s entries,

and the assessments made against it, are not before the Court in such a lawsuit. Nei­

ther Commerce nor the Court could order a refund of monies17. The Trade Court can

only uphold the Commerce’s determination as supported by substantial evidence, or

remand it to the agency for further proceedings. It cannot provide a plaintiff such as

Rimco with affirmative relief from an unconstitutional taking of its money. The

inadequacy of the prescribed administrative relief in such a proceeding is yet another

reason why exhaustion of such a procedural remedy is not required in this case.

McGrath v. Weinberger, 541 F.2d 249, 251-52 (10th Cir. 1976). “We need not give

an agency the opportunity for error correction that it is incapable of providing—i.e.,

where it is not empowered to provide effective relief.” McCarthy v. Madigan, 503

U.S. 140, 147 (1992). The relief sought in this case is the refund of monies assessed

as unconstitutional Eighth Amendment excessive fines. Commerce is incapable of



       17 Oddly, judgments in 28 U.S.C. § 1581(c) cases are not self-executing. It falls
to the Commerce Department to provide public notice of the Trade Court’s ruling,
and to direct CBP to make final assessments of duties - using the protest liquidation
process in 19 U.S.C. §1500.

                                            22
           Case: 22-2079      Document: 15      Page: 32    Filed: 11/14/2022




providing that relief, as it never collects or refunds any duties.18 Rather, the funds

are collected by CBP, whose assessment was timely protested in this case.

      Because Commerce lacks the institutional competence to judge the constitu­

tionality of its actions, because the agency’s procedures are not suited to resolving

constitutional questions, and because the agency is not capable of rendering effective

relief, the Trade Court erred in holding that Rimco was required to participate in

(long-concluded) proceedings before Commerce, and raise its constitutional claims

before the Trade Court in a review action brought under 28 U.S.C. § 1581(c).

IV.   A Claim for a Refund of Monies Unconstitutionally Taken by CBP May
      be Raised by Protest Followed By Litigation Under 28 U.S.C. § 1581(a).

      Unconstitutional exactions made by Customs in the liquidation of import en­

tries have always been subject to challenge by protest. Section 514(a) of the Tariff

Act of 1930, as amended 19 U.S.C. § 1514(a), provides that determinations “adverse

to the importer, in any entry, liquidation, or reliquidation, and, decisions of the Cus­

toms Service, including the legality of all orders and findings entering into the same”

as to various subjects, including “all charges or exactions of whatever character

within the jurisdiction of the Secretary of the Treasury,” 19 U.S.C. § 1514(a)(3),

“shall be final and conclusive upon all persons (including the United States and any



       18 This fact also calls into question whether a constitutional injury claim is ripe
for judicial review in a 28 U.S.C. § 1581(c) action and whether, in the absence of an
actual assessment, a plaintiff has suffered a constitutional injury-in-fact.

                                           23
             Case: 22-2079    Document: 15      Page: 33   Filed: 11/14/2022




officer thereof) unless a protest is filed in accordance with this section.” Id. at

§ 1514(a)(7). Challenges to the legality of “orders and findings entering into an as­

sessment” include challenges to the constitutionality of such orders and findings. Id.

§ 1514(a).

      Courts at one time took the position that a liquidation based on an unconstitu­

tional provision of a statute was not a final legal liquidation, and need not be pro­

tested, for such a “void liquidation” did not start the running of the protest statute of

limitations. It was believed that administrative housekeeping actions were required

to bow to constitutional supremacy. See e.g., United States v. CO. Mason Inc., 51

C.C.P.A. 107, 114 (1964), cert. den. 379 U.S. 999 (1965); see also United States v.

Cajo Trading Inc., 55 C.C.P.A. 61 (1968), cert. den. 393 U.S. 827 (1968) (assess­

ment based on void Presidential Proclamation). However, this concept of a “void

liquidation” was supplanted by the enactment of 19 U.S.C. § 1514(a) in 1970.19



      19 In A.N. Deringer Inc. v. United States, 66 C.C.P.A. 50, 55 (1979), this
Court’s predecessor held:

      We do not find it necessary to overrule Cajo and Mason since the Con­
      gress has already effectively done so. As noted above, 19 U.S.C.
      § 1514(a)(1970) makes it quite clear that timely protests must be filed
      in order to challenge “decisions of the appropriate Customs officer, in­
      cluding the legality of all orders and findings entering into same” (Italic
      ours). The demise of the “void liquidation” rule is further highlighted
      by the omission from the Tariff Act, as amended in 1970, of the very
      statutory language - “as provided by law” - relied upon by the court in
      Mason. The appropriate Customs official is now simply required to
      “liquidate the entry of such merchandise” (19 U.S.C. § 1500(d) (1970)
                                           24
           Case: 22-2079      Document: 15      Page: 34    Filed: 11/14/2022




      Following the enactment of 19 U.S.C. § 1514(a) in 1970, therefore, it was

clear that any challenge to a Customs exaction, even one challenged as unconstitu­

tional, was required to be initiated by the filing of a protest under that statute.

      Two alterations to this statutory scheme were made by the Customs Courts

Act of1980, Pub. L. 96-417, 94 Stat. 1727 et seq (1980). First, the Court’s jurisdic­

tion and powers were expanded, to reflect its newly-conferred status as an Article

III Court with all powers in law and equity of a Federal District Court. This expan­

sion included the creation of a new “residual” grant of subject matter jurisdiction

contained in 28 U.S.C. § 158 l(i). Second, Congress enacted 28 U.S.C. § 2637(d),

which provides that “[i]n any civil action not specified in this section, the [CIT]

shall, where appropriate, require the exhaustion of administrative remedies.” On nu­

merous occasions, the CIT has exercised its discretionary power under 28 U.S.C. §

2637(d) to waive the exhaustion of administrative protest remedies, when it finds

that requiring the exhaustion of such remedies to be “futile” or “inappropriate.20 This



      rather than liquidate “ ... as provided by law” (19 U.S.C. § 1505
      (1930)). Removal of this stipulation further enhances what we perceive
      to be a pervasive replacement throughout the statute to channel all non­
      excepted protests through section 1514 even when those protests go to
      the legality of a Customs official’s action.
      20 See, e.g., Apex Frozen Foods Pvt. Ltd. v. United States, 862 F.3d 1322, 1332
(Fed. Cir, 2017); Itochu Bldg. Prods, v. United States, 733 F.3d 1140, 1145 (Fed Cir.
2013), citing McCarthy v. Madigan, 503 U.S. 140, 145 (1992). This Court has rec­
ognized an exception to exhaustion for “pure legal questions”. Agro Dutch Ind. Inc.
v. United States, 508 F.3d 1024, 1029 (Fed. Cir. 2007).
                                           25
           Case: 22-2079     Document: 15      Page: 35   Filed: 11/14/2022




has included cases where plaintiffs have challenged the constitutionality of a statute

imposing a charge or exaction, where protest would be “futile”, since an administra­

tive agency does not have the power to hold an Act of Congress unconstitutional.21

      That being said, a plaintiffs determination to pursue an administrative rem­

edy, even though the pursuit be futile and unsuccessful, does not unsuit it. In this

regard, 28 U.S.C. § 1581(a) vests the Trade Court with jurisdiction “in any civil ac­

tion commenced to contest [Customs’] denial of a protest.” Totes-Isotoner Corp. v.

United States, 580 F. Supp. 2d 1371, 1375 (Ct. Int’l Tr. 2008). An importing plaintiff

such as Rimco may use the protest remedy to challenge Customs’ exaction of monies

in an assessment, “including the legality of all orders and findings entering into

same.” 19 U.S.C. § 1514(a). The election of how to proceed rests with the plaintiff.

      Thus, although the United States Supreme Court held that plaintiffs could

challenge the constitutionality of the export Harbor Maintenance Tax (“HMT”) un­

der the CIT’s residual jurisdiction, 28 U.S.C. § 158l(i), without exhausting the

§ 1514(a) protest remedy, see United States v. U.S. Shoe Corp., 523 U.S. 360 (1998),

this Court thereafter held that plaintiffs could challenge the constitutionality of the




       21 See e.g., Totes-Isotoner Corp. v. United States, supra (challenge to consti­
tutionality of various tariff provisions asserted to violate constitutional “equal pro­
tection” guarantees); Orleans Int’l Inc. v. United States, 335 F.3d 1375, 1380 (Ct.
Int’l Tr. 2003); Pat Huval Rest. & Oyster Bar Inc. v. United States, 32 C.I.T. 232
(2008) (challenge to constitutionality of “Byrd Amendment”).
                                          26
           Case: 22-2079     Document: 15      Page: 36   Filed: 11/14/2022




very same HMT by protesting Customs’ refusal to refund the tax and, upon denial

of its protest, initiating suit in the Trade Court under 28 U.S.C. § 1581(a) to chal­

lenge such denial. Swisher, 205 F.3d at 1365. Numerous litigants recovered export

HMT payments by filing protests and litigating in the Trade Court under 28 U.S.C.

§ 1581(a).22

      It is well-established law that a protest against Customs’ liquidation of an en­

try may be a vehicle for obtaining a court decision that an act of Congress is uncon­

stitutional, see e.g., United States v. Fox River Butter Co., 20 C.C.P.A. 38,45 (1932);

see also Goldman v. United States, 28 C.C.P.A. 162, 166 (1940).

      While the Trade Court in the modem era, acting in reliance on 28 U.S.C.

§ 2637(d), has generally held that a litigant may seek waiver of exhaustion of ad­

ministrative remedies when it challenges the constitutionality of a statute, the same

presumption does not necessarily attach where, as here, the plaintiff contests an ad­

ministrative action as unconstitutional. See e.g., Nufarm America’s Inc. v. United

States, 29 C.I.T. 1317, 1330-31 (2005). In that case, the Trade Court held that by­

passing the Customs protest scheme to invoke its § 1581(i) “residual” jurisdiction

was not appropriate, citing Miller & Co. v. United States, 824 F.2d 961, 963 (Fed.

Cir. 1987). Where the constitutional challenge is to an administrative, rather than a


      22 See e.g., Sony Elecs. Inc. v. United States, 26 C.I.T. 286 (2002).



                                          27
           Case: 22-2079     Document: 15      Page: 37    Filed: 11/14/2022




legislative action, it may be more appropriate to encourage “further factual develop­

ment within the agency.” Thomson Consumer Elecs. v. United States, 247 F.3d 1210,

1214 (Fed. Cir. 2001). However, the fact that CBP, having been given the oppor­

tunity, could not find a non-constitutional ground on which to dispose of Rimco’s

protest does not unsuit Rimco with respect to its constitutional Eighth Amendment

claim. As this Court noted in Swisher, supra, even where the challenge is to the

constitutionality of a statute, and a protest is essentially futile because CBP lacks

authority to grant it, a litigant does not waive any rights by pursuing the protest rem­

edy. The lower court’s decision in this action disregards Swisher and other binding

Circuit precedent.

      In this case, plaintiffs decision to exhaust the protest remedy is prudent. Con­

gress’ preferred statutory mechanism for importers to challenge unlawful, or uncon­

stitutional, exactions of money is fashioned at 19 U.S.C. § 1514(a). Plaintiffs deci­

sion to use that mechanism is in accordance with Congressional intent, and spares

the courts the need to fashion an original remedy should it rule in plaintiffs favor.23



      23 As noted in Azar v. Ashcroft'.

      Where Congress has selected a remedy for constitutional injuries, the
      courts should defer to its legislative wisdom; ... where Congress has
      not considered a remedy, however, a court must use its judgment con­
      cerning the best way to supplement a constitutional guarantee.

585 F.3d 559, at 622 (2d Cir. 2009) (citing Wilkie v. Robins, 551 U.S. 537, 550
(2007)); Bivens v. Six Unknown Named Agents, 403 U.S. 388, 396-97 (1971)). Here,
                                          28
           Case: 22-2079      Document: 15       Page: 38    Filed: 11/14/2022




       Finally, the Trade Court erred when it suggested that there was no “decision”

by CBP against which a protest would lie. By statute, 19 U.S.C. § 1500, Customs is

required to determine the rate and amount of duty applicable to an entry of imported

merchandise, and render a decision regarding same through liquidation.24 This in­

cludes entries with antidumping and countervailing duty assessments, which are re­

quired by law to go through the liquidation process. By statute, 19 U.S.C. § 1514(a),

that required decision, together with the legality of all orders and findings merging

into same, is subject to protest. Customs’ liquidation decision is protestable, even if

it reflects directions provided by another agency and carried out ministerially by

CBP. Wirtgen Am. Inc. v. United States, 437 F. Supp 3d 1302, 1307 (Ct. Int’l Tr.

2020).25 That CBP may be bound by statute to carry out an act deemed unconstitu­

tional may allow an aggrieved party to seek waiver of administrative remedies and




where a constitutional injury is inflicted by CBP, by making a charge deemed an
excessive fine, it is appropriate for plaintiff to raise its claim using the statutory pro­
test remedy provided by Congress.
       24 Liquidation is a mandatory and essential act. It determines that an importer
is definitively liable to pay certain amounts, or to receive certain refunds. It triggers
the time period for protesting decisions, it determines when delinquency interest on
bills for supplemental duties is due, it determines when CBP may make a demand
on a surety.
    25 An agency’s lack of discretion in a matter may, in certain cases, justify a judi­
cial waiver of exhaustion of administrative remedies pursuant to 28 U.S.C. §263 7(d),
on the ground that requiring exhaustion would be futile or inappropriate. See, e.g.,
Conoco v. U.S. Foreign Trade Zones Board, 18 F.3d 1581 (Fed. Cir. 1994); Luggage
& Leather Goods Mfrs. Assn. v. United States, 588 F. Supp. 1413, 1421 (Ct. Int’l Tr.
                                            29
           Case: 22-2079     Document: 15      Page: 39     Filed: 11/14/2022




lodge a complaint directly with this Court, U.S. Shoe Corp. v. United States, 523

U.S. 360, 365 (1998), it may nonetheless raise its claims by pursuing its protest rem­

edy, should it elect to do so. Swisher, 205 F.3d at 1360.

      Finally, the only decisions not protestable post-liquidation are those identified

in Section 514(b) of the Tariff Act, which provides:

      (b) Finality of determinations

      With respect to determinations made under section 1303 of this title or
      subtitle IV of this chapter which are reviewable under section 1516a of
      this title, determinations of the Customs Service are final and conclu­
      sive upon all persons (including the United States and any officer
      thereof) unless a civil action contesting a determination listed in section
       1516a of this title is commenced in the United States Court of Interna­
      tional Trade, or review by a binational panel of a determination to
      which section 1516a(g)(2) of this title applies is commenced pursuant
      to section 1516a(g) of this title and article 1904 of the North American
      Free Trade Agreement or the United States-Canada Free-Trade Agree­
      ment.

The decision protested here is not a challenge to the any Commerce determination

made under the statutes referenced in 19 U.S.C. § 1514(b). For purposes of this ac­

tion, we assume that Commerce’s ADD and CVD calculations were made in accord­

ance with the ADD and CVD laws, as written by Congress (particularly the provi­

sions allowing Commerce to disregard commercial reality when setting AFA rates).




1984). But a plaintiffs decision to exhaust the administrative protest remedy does
not unsuit it.


                                          30
          Case: 22-2079      Document: 15     Page: 40   Filed: 11/14/2022




This suit does not contest the legality of those determinations, but addresses the ef­

fect of those determinations, specifically whether Customs’ assessment of charges

as high as 688% ad valorem of the value of the merchandise Rimco imported worked

a constitutional injury on Rimco, through the imposition by the United States of an

“excessive fine” in violation of the Eighth Amendment.




                                         31
           Case: 22-2079      Document: 15      Page: 41    Filed: 11/14/2022




                                       CONCLUSION

       For the reasons set herein, the decision of the Trade Court dismissing this

action for lack of subject matter decision should be vacated, and this case remanded,

with directions for the lower court to entertain it under its 28 U.S.C. § 1581 (a) protest

jurisdiction.




                                         Respectfully submitted,


                                         John M. Peterson
                                          Counsel of Record
                                         Richard F. O’Neill
                                         Patrick B. Klein
                                         NEVILLE PETERSON LLP
                                         Counsel for Plaintiff-Appellant Rimco Inc.
                                         One Exchange Plaza at 55 Broadway
                                         New York, New York 10006
                                         (212) 635-2730
                                         (212) 635-0113 (Fax)
                                         jpeterson@npwny.com




                                           32
           Case: 22-2079     Document: 15     Page: 42    Filed: 11/14/2022




                   CERTIFICATE OF COMPLIANCE WITH
                      TYPE-VOLUME LIMITATIONS

I hereby certify that the foregoing Principal Brief of Plaintiff-Appellant, Rimco Inc.,

complies with the relevant type-volume limitation of the Federal Rules of Appellate

Procedure and Federal Circuit Rules. It was prepared using a proportionally-spaced

typeface and includes 7,535 words.



                                               /s/ Patrick B. Klein
                                                  Patrick B. Klein

November 14, 2022
          Case: 22-2079     Document: 15    Page: 43    Filed: 11/14/2022




                          CERTIFICATE OF SERVICE

I hereby certify that on this 14th day of November 2022, I electronically filed the

foregoing Principal Brief of Root Sciences LLC, U.S., with the Clerk of the Court

for the United States Court of Appeals for the Federal Circuit through the Court’s

CM/ECF system. Participants in this case who are registered CM/ECF users will be

served by the appellate CM/ECF system.



                                           /s/ Patrick B. Klein
                                               Patrick B. Klein
November 14, 2022
